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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

JOSEPH C. GARCIA,                              §
                     PETITIONER,               §
                                               §
V.                                             § CASE 3:06-CV-2185-M
                                               §
                                               §
WILLIAM STEPHENS, DIRECTOR,                      CAPITAL CASE
                                               §
 TEXAS DEPARTMENT OF CRIMINAL                  §
JUSTICE                                        §
 CORRECTIONAL INSTITUTIONS DIVISION,           §
                 RESPONDENT.
                               Notice of Filing of Exhibits

       Counsel for Petitioner hereby provides the Court notice that he will be filing the

exhibits in his case, pursuant to this Court’s suggested guidelines, one week from today

on Tuesday, December 15, 2015. Counsel was only recently appointed to this case and

has not yet received Mr. Garcia’s file from prior counsel. Prior counsel notified counsel

for Mr. Garcia that the file has been mailed and should arrive forthwith.

       Respectfully submitted this 8th day of December, 2015.

                                                 Jon M. Sands
                                                 Federal Public Defender
                                                 District of Arizona
                                                 Dale A. Baich
                                                 Ashwin Cattamanchi
                                                 /s/ Dale A. Baich
                                                 Federal Public Defender
                                                 Arizona Federal Public Defenders Office
                                                 850 West Adams St., Suite 201
                                                 Phoenix, AZ 85007
                                                 602-382-2816
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                             CERTIFICATE OF SERVICE

       On December 8, 2015, I electronically submitted the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all counsel and/or pro

se parties of record electronically or by another manner authorized by Federal Rule of

Civil Procedure 5 (b)(2).


/s/ Robin Stoltze
Legal Assistant
